Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 1 of 35 PagelD: 1

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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

JOSE MENDEZ, Individually and On Behalf Of All

Others Similarly Situated,

Plaintiff,
vs.

AVIS BUDGET GROUP, INC. d/b/a BUDGET

RENT A CAR SYSTEM, INC. and AVIS RENT A

CAR SYSTEM, LLC; and HIGHWAY TOLL
ADMINISTRATION, LLC,

Defendants.

 

 

Civil Action No.

CLASS ACTION COMPLAINT
And DEMAND FOR JURY TRIAL

Plaintiff Jose Mendez (“Plaintiff”), residing at 403 Remsen Avenue, Avenel, New Jersey

07001, individually and on behalf of all others similarly situated, for his Class Action Complaint

against Defendants Avis Budget Group, Inc. d/b/a Budget Rent A Car System, Inc. and Avis

Rent A Car System, LLC (together “Avis Budget” or the “Company’); and Highway Toll

Administration, LLC, (“‘HTA”) (HTA and Avis Budget hereinafter sometimes referred to

collectively as the “Defendants”) by and through his undersigned attorneys, alleges upon

295860 v1
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 2 of 35 PagelD: 2

personal knowledge as to himself and his acts and upon information and belief and the
investigation of counsel as to all other matters as follows:
NATURE OF THE CASE

1. Plaintiff brings this action on behalf of a nationwide class of all renters of vehicles
from Avis Budget, whom Defendants have routinely victimized through a common course of
unlawful conduct.

2. In 2006, Avis Budget became HTA’s first major rental car company customer.
Avis Budget partnered with HTA to equip rental cars with transponders that allow for an
automatic toll payment service called e-Toll which allows rental car customers to bypass traffic
and congestion at toll booths by using the electronic toll-collection lanes of toll roads, such as the
E-ZPass system, without having to stop to pay tolls with cash.

3. Since 2006, HTA has installed thousands of its electronic toll collection devices
in Avis Budget’s fleet of vehicles. These devices were first installed in cars in states in which
there were already E-ZPass and SunPass toll collection systems in the United States. Avis
Budget refers to its toll collection service as “Budget e-Toll” or “Avis e-Toll” (hereinafter
collectively referred to as “e-Toll”).

4. A substantial number of Avis Budget’s rental vehicles from “Maine to Virginia”,
Florida, Colorado, Texas, Chicago, California and Puerto Rico come pre-equipped and pre-
enrolled with an HTA device. Defendants do not and did not disclose to Avis Budget rental
customers, including Plaintiff and the Class, in its pre-printed Rental Agreement (defined below
in para. 24) that: (1) e-Toll transponders are automatically activated for their rental vehicles; (2)
by contracting to rent cars from Avis Budget, Plaintiff and the Class automatically become

enrolled as paying subscribers to e-Toll; (3) in addition to the toll charges, customers who rent e-

295860 v1 2
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 3 of 35 PagelD: 3

Toll enabled cars are automatically required to pay a “convenience” fee “of $2.50 per rental day”
regardless of whether they use e-Toll and “up to $10.00 per week for the use of this service”; and
(4) customers are not responsible for the actual toll amount incurred, which is a discounted toll
rate, but instead must pay Avis Budget the non-discounted toll amount.

5. Avis Budget’s pre-printed Rental Agreement presented to customers fails to
identify e-Toll or HTA or specify the fees that will be incurred by renters for e-Toll. Only after
the return of the rental car are Avis Budget customers, like Plaintiff and Class Members, charged
on either their credit or debit cards by Avis Budget and/or HTA for payment of the fees and toll
charges. Defendants have simply no contractual right to charge Plaintiff and Class Members any
fees for e-Toll.

6. Upon information and belief, thousands of individuals have been victims of
Defendants’ misconduct involving e-Toll fees since its inception and implementation.
Accordingly, Plaintiff brings this action for breach of contract, violation of the New Jersey
Consumer Fraud Act (“NJCFA”), and for unjust enrichment to stop Defendants from continuing
their unlawful course of conduct and to recover for ascertainable monetary losses Defendants
have caused to Plaintiff and Class Members.

7. Upon information and belief at all times material hereto, Plaintiff is informed and
believes and alleges that each Defendant is responsible in some manner for the occurrences and
damages alleged herein, and that Plaintiff and Class Members’ damages were proximately
caused by said Defendants.

JURISDICTION AND VENUE
8. This action is brought as a class action pursuant to Rule 23 of the Federal Rules of

Civil Procedure.

295860 v1 3
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 4 of 35 PagelD: 4

9. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §1332(d). The
amount in controversy exceeds $5,000,000, exclusive of interest and costs, and is a class action
in which Plaintiff or members of the class or plaintiffs are citizens of states different from at least
one Defendant. Upon information and belief, there are more than 100 Class Members.

10. Venue is proper in this District pursuant to 28 U.S.C. §1391 because Defendants
do business in this District and a substantial part of the events or omissions giving rise to
Plaintiffs claims occurred in this District. Defendant Avis Budget’s principal place of business
is located in this District, it conducts substantial business in this District and a substantial part of
the events or omissions giving rise to Plaintiff's claims occurred in this District.

THE PARTIES

11. Plaintiff is a resident of New Jersey. Plaintiff rented an automobile from the
Budget division of Avis Budget’s Orlando, Florida airport location. The car was equipped with
an electronic toll-collection device and Plaintiff was charged fees by Defendants as described
herein.

12. Defendant Avis Budget is a Delaware limited liability company with its principal
place of business and North American headquarters located in Parsippany, New Jersey. Avis
Budget does business throughout New Jersey, including throughout this judicial district. Avis
Budget provides car and truck rentals, and ancillary services to businesses and consumers. The
Company supplies rental cars to the premium commercial and leisure segments of the travel
industry under the Avis (“Avis”) brand name; and to the value-conscious segments of the
industry under the Budget (“Budget”) brand name. It operates or licenses the Avis car rental
system that comprises approximately 5,050 locations and the Budget vehicle rental system which

consists of approximately 2,750 car rental locations. Avis Budget operates out of locations at

295860 v1 4
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 5 of 35 PagelD: 5

various airports and cities in the United States and internationally. Upon information and belief,
all corporate decisions regarding the representations and acts of concealment which are the
subject of this lawsuit were directed by, or emanated from, Avis Budget’s representatives
working in New Jersey or directly reporting to superiors situated in New Jersey.

13. Defendant HTA is a privately held company based in Great Neck, New York.
HTA, founded in 2002, provides an electronic-toll-payment service to the car rental industry.
According to its website, HTA was the first electronic toll payment service provider in the car
rental industry and has more than 75% market share by transaction volume. HTA says that it
handles the tolling interests of more than 1.3 million vehicles and has processed in excess of 10
million electronic toll collection transactions with data from both transponder based and license
plate based video tolling.

14. Avis Budget was HTA’s first major rental agency customer. In its March 12,
2006 press release announcing its partnership with Avis Budget’s then parent company, Cendant
Car Rental Group, HTA stated that “[s]omeday in the near future, all Avis and Budget customers
will enjoy the convenience and time savings of paying for tolls electronically.”

BACKGROUND

15. Avis Budget touts itself as a leading provider of vehicle rental services in North
America. These services operate through its Avis and Budget brands. The Company has over
10,000 rental locations in approximately 175 countries around the world. It also grants licensees
rights to rent vehicles under the Avis Budget brands. Avis Budget rental cars may also be rented
on the Internet. HTA is a privately owned company in the business of supplying and
administering the e-Toll automated toll collection service which affects commerce in New Jersey

and across the U.S.

295860 v1 5
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 6 of 35 PagelD: 6

16. According to Avis Budget’s Form 10-K for the year ended December 31, 2010,
in 2010 Avis Budget derived approximately 81% of its nearly $4.0 billion in total car rental
revenue from on-airport locations and approximately 19% of its revenue from off-airport
locations in the United States. In 2010, Avis Budget had a rental fleet of more than 345,000
vehicles and completed more than 22 million vehicle rental transactions worldwide.

17. | The 2010 Form 10-K further stated that, in 2010, the Company’s domestic car
rental segment generated approximately 71 million rental days and average time and mileage
revenue per day of $41.70 with an average rental fleet of approximately 268,000 vehicles.

18. | The 2010 Form 10-K also stated that “In addition to revenue from vehicle rentals
and licensee royalties, we generate revenue from Avis and Budget customers through the sale
and/or rental of optional products and services. Our employees offer products to customers that
will better suit their rental experience, including loss damage waivers, insurance products such as
additional/supplemental liability insurance or personal accident/effects insurance, products for
driving convenience such as where2 GPS navigation units, optional emergency roadside
assistance, fuel service options and electronic toll collection, and other ancillary products and
services as described above, such as rentals of satellite radio units and child safety seats.”
(emphasis added)

19. Avis Budget also considers the electronic toll collection product as a means for
expanding its revenue source. The 2010 10-K stated: “Opportunities for ancillary revenue
growth include adding sales of additional insurance coverages and insurance-related and other
ancillary products and services, such as electronic toll collection, satellite radio and our ... GPS

navigation product, to the rental transactions of an increasing percentage of our renters.”

295860 v1 6
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 7 of 35 PagelD: 7

20. Avis Budget and HTA have entered into an agreement and have jointly offered
and implemented the e-Toll system in Avis Budget rental vehicles since at least 2006.
According to Avis Budget’s 2010 Form 10-K, a “significant” number of its vehicles are
equipped for electronic toll collections.

21. Currently, e-Toll is activated on toll roads in the Northeast United States (from
“Maine to Virginia” territory) and in Florida, Colorado, Texas, areas near Chicago, California
and Puerto Rico.

22. | Upon information and belief, a substantial number of Budget rental vehicles and
all Avis rental vehicles are pre-enrolled and enabled to use the e-Toll system. No advanced
commitment or contract is required of or provided to the rental customer.

23. | The e-Toll system electronically identifies the Avis Budget vehicles as they travel
through electronic toll collection sites. This is accomplished by various means depending on the
location. Some transactions are captured and processed through recognition of license plate
numbers and some are captured through an electronic transponder device in the vehicle. Once
the identification is made, HTA, acting as the agent and instrumentality of Avis Budget, receives
data identifying the specific Avis Budget vehicle and tolls incurred on specific dates. Avis
Budget, without customer consent, provides HTA with the personal identification and payment
information of its customers (including credit and debit card information) and the vehicles they
rented. As agent and instrumentality of Avis Budget, HTA then matches the toll and car data to
Avis Budget customers Avis Budget provides them, calculates the toll charges electronically, and
later on its own or through Avis Budget charges tolls and fees to the credit or debit card used to
rent the vehicle from Avis Budget. Upon information and belief, Defendants charge Plaintiff

and the Class the non-discounted electronic toll charge, but obtain for themselves a discounted

295860 vi 7
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 8 of 35 PagelD: 8

toll charge. Defendants do not pass the discounted savings on to Plaintiff and the Class, nor do
they disclose the difference between the toll charge paid by the renter and the actual discounted
toll charge incurred.
IMPOSITION OF E-TOLL ON PLAINTIFF AND THE CLASS

24. ~+As a matter of course, Avis Budget car rental customers execute standardized
rental contracts Avis Budget drafts, which spell out the terms, charges and conditions of the
rental arrangement. Avis Budget’s pre-printed Rental Document Jacket (see Exhibit A attached
hereto) sets forth the “Terms and Conditions” of the rental agreement (“Rental Agreement’).
The enumerated Terms and Conditions, the rental document (the “Rental Document”) (see
Exhibit B attached hereto), and a return record constitute the Rental Agreement. The Rental
Document confirms the per day or per week charges for the vehicle and also sets forth those
services that Plaintiff and Class Members may accept or decline, such as Loss Damage Waiver,
Personal Accident and Effects Insurance, Supplemental Liability Insurance & Exclusions and
Emergency Sickness Protection. The Rental Document specifically lists other surcharges for
concession recovery fees, vehicle license fees, and for optional services such as the Fuel Service
Option. The Rental Document does not include any reference to e-Toll or any per day or per
week charges for e-Toll. In connection with possible additional charges to Plaintiff's credit or
debit card, the Rental Document states: “You may bill all charges, parking/traffic tickets
included, to the card I used for payment, without additional signature by me on a voucher.”

25. | Nowhere in the Rental Agreement or in any document signed by Plaintiff is it
disclosed that the vehicle being rented comes pre-equipped and pre-enrolled with e-Toll. HTA is

never identified by name in the Rental Agreement or in any other document.

295860 v1 8
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 9 of 35 PagelD: 9

26. | Under “Rental Charges” in the Terms and Conditions it states “If you use a car
with automatic toll payment capability, you will pay us or our toll program administrator for all
tolls incurred during your rental and all related fees charges and penalties.” (emphasis added).
Nowhere does the “Rental Charges” provision specify that Plaintiff and Class Members will be
charged for having a car equipped with automatic toll payment capability regardless of whether
they used it or not. Nowhere does the “Rental Charges” provision specify the amount per week
or per day Plaintiff and the Class Members will be charged for getting a vehicle which comes
pre-equipped with e-Toll.

27. | Nowhere in the Rental Agreement is it disclosed that Avis Budget will provide
HTA with the credit card or debit card information of its customers for HTA use.

28. The only portion of the Rental Agreement that refers to the possibility that the
renter might be charged $2.50 per day or $10.00 per week is concealed under the heading
entitled “Collections” and states:

Collections

If you do not pay all amounts due to us under this agreement upon demand, including all

charges, fees and expenses, including, without limitation, payment for loss of or damage

to the car, rental charges, parking and traffic fines and penalties, toll charges, towing,
storage and impounding fees, you agree to pay a late charge of 1 '2% per month on the
past due balance or the highest rate permitted by applicable law, whichever is less

(collectively “Charges”). For toll charges you will be charged the standard non-

discounted fee for tolls roads as published by the toll authority plus the convenience fee

of $2.50 per rental day regardless of whether you use e-Toll or not and up to $10.00 per
week for the use of this service. You agree to also pay any cost that we incur in seeking
to collect such Charges.... (emphasis added)

29. The above quoted provisions are the only provisions that expressly concern toll
collection. This one sentence regarding toll charges under the Collections heading in the Rental

Agreement addresses only the collection of the “standard non-discounted fee” for tolls and

associated convenience fees solely in the context of a renter’s failure to pay all amounts due

295860 v1 9
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 10 of 35 PagelD: 10

upon demand thus necessitating collections efforts by Defendants. Given Avis Budget’s role as
the drafter of the Rental Agreement a reasonable interpretation of it is that Defendants could
charge the “standard non-discounted fee for tolls...plus the convenience fee” only if a renter
failed to pay amounts due under the Rental Agreement. None of the documents comprising the
Rental Agreement provide adequate notice about the applicability of the fees hidden in the
“Collections” provision of the Terms and Conditions and the occasions on and mechanisms
through which these fees were and are charged.

30. Regardless of where e-Toll enabled cars were or are rented from Avis Budget in
the U.S., Defendants uniformly harmed Plaintiff and each Class Member in the same manner:

a. Plaintiff and Class Members have been automatically pre-enrolled with e-Toll
without any advanced commitment, assent or contract to use e-Toll;

b. Defendants failed to disclose to Plaintiff and Class Members whether the rental
vehicle they were given was equipped with the e-Toll automated toll-payment
service;

c. Defendant Avis Budget failed to disclose to Plaintiff and Class Members that it
would disclose their personal credit and debit card information to HTA or any
other non contracting third party;

d. Defendants failed to disclose to Plaintiff and Class Members in Avis Budget’s
Rental Agreement that renting an Avis Budget rental vehicle enabled with the e-
Toll automated toll-payment service would trigger fees of $2.50 per rental day up

to $10 per week payable to Avis Budget and/or HTA;

295860 v} 10
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 11 of 35 PagelD: 11

e. Defendants failed to disclose to Plaintiff and Class Members in Rental
Agreements that they would be obligated to pay e-Toll fees even if they did not
use the e-Toll service; and

f. Defendants failed to disclose to Plaintiff and Class Members in Rental
Agreements that they would be obligated to pay more than the actual toll charge
incurred and would instead pay the non-discounted rate

31. | Upon information and belief, Defendants’ e-Toll system regularly identified
Plaintiff and each Class Member’s Avis Budget rental vehicles as they traveled through toll
collection lanes, and Defendants systematically imposed e-Toll fees on Plaintiff and Class
Members in the manner set forth in paragraphs 22-23. _

32. Moreover, as a matter of course, Plaintiff and Class Members executed no
separate agreement relating to e-Toll usage, charges or sharing of credit/debit card information.
Plaintiff and each Class Member executed an Avis Budget Rental Agreement, but all of the
documents comprising the Rental Agreement uniformly failed to identify e-Toll or HTA or
specify the daily e-Toll fees Avis Budget imposed after the return of the rented vehicles.

FACTS RELATING TO NAMED PLAINTIFF

33. Sometime before July 28, 2011, Plaintiff reserved and leased a rental vehicle from
Budget for pick up at Budget’s Orlando, Florida International Airport location for use from July
28, 2011 to August 5, 2011. Plaintiff reserved the rental using his Visa credit card.

34. On or about July 28, 2011, Plaintiff traveled from New Jersey to Orlando
International Airport. Prior to leaving the airport, he went to the Budget office to obtain the
vehicle he had previously reserved. At the Budget office he was presented with a standard Avis

Budget Rental Agreement for his signature. Plaintiff signed the Rental Document confirming

295860 vi 11
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 12 of 35 PagelD: 12

that he was declining Loss Damage Waiver, Personal Accident and Effects Insurance,
Supplemental Liability Insurance & Exclusions and Emergency Sickness Protection.

35. At no time was Plaintiff informed prior to renting from Avis Budget, while in
possession of his rental vehicle or upon returning his vehicle to Avis Budget, that:

a. His Budget rental car may have an e-Toll automated toll-payment device in it or
on its license plate;

b. His Budget rental car was pre-enrolled and activated for e-Toll;

c. Renting a Budget rental car equipped with an e-Toll device would automatically
result in fees payable to Avis Budget and/or HTA; and

d. He would be obligated to pay more than the actual toll charge incurred and would
instead pay a non-discounted rate.

36. Upon information and belief, sometime between July 28, 2011 and August 5,
2011, Plaintiff's Budget rental car passed through a toll lane in Orlando, Florida, which triggered
the operation of the e-Toll toll paying system to pay the toll.

37. Plaintiff returned the Budget rental car on August 5, 2011 at the Orlando Airport
location. Upon returning the car Budget’s agent advised Plaintiff that there were no additional
charges.

38. After returning home from vacation, Plaintiff received his Visa credit card
September statement. Included in this statement was an unknown charge for $15.75. Upon
seeing this additional charge on his credit card, Plaintiff called Visa and was told that the charge
was from Budget. He then called Budget who told him that the car was enabled with e-Toll and

the $15.75 charge included a $0.75 toll charge and $15.00 convenience charge for e-Toll.

295860 vi 12
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 13 of 35 PagelD: 13

39. Plaintiff was unaware of the facts and circumstances surrounding the imposition
of the e-Toll and that Defendants had no legal or contractual right to collect e-Toll convenience
fees. Had he previously known about the e-Toll fees, he would have not incurred or paid the
charges or rented from Avis Budget.

PLAINTIFF AND CLASS MEMBERS HAVE ASCERTAINABLE LOSSES

40. As set forth above, Defendants routinely do not and did not disclose to Avis
Budget customers, including Plaintiff and Class Members, facts and information which are
material.

41. In Avis Budget’s Rental Agreement, Defendants have uniformly and knowingly
failed to: disclose the foregoing material facts and information; disclose the foregoing material
facts and information clearly and conspicuously; or disclose the foregoing material facts and
information in a manner consumers are likely to notice and understand. Defendants are and were
in a superior position to know such facts and information, and such information is within
Defendants’ exclusive knowledge and unknown to Plaintiff and Class Members. Without the
foregoing information, consumers cannot determine just what costs and obligations they will
incur to rent vehicles from Avis Budget.

42. Through their common course of conduct, Defendants have employed or used
means or methods of imposing e-Toll fees which have caused consumers, including Plaintiff and
Class Members, ascertainable losses, in that, among other things, Defendants jointly, severally
and systematically:

a. Deprived Avis Budget customers of material facts and information, which would

likely affect their decisions whether to rent vehicles from Avis Budget or their

295860 v1 1 3
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 14 of 35 PagelD: 14

abilities to make intelligent and meaningful choices between Avis Budget and
other rental car companies;

b. Imposed on Plaintiff and Class Members charges and fees which were not
disclosed and not agreed in their Rental Agreements; and

c. Failed to provide Plaintiff and Class Members with a meaningful way to reject the
purported service and avoid paying unnecessary and unwanted fees.

43. Because of Defendants’ course of conduct described above and because
Defendants uniformly failed to disclose material facts about e-Toll or disclosed them in a
misleading manner, consumers cannot and could not reasonably avoid their injuries.

44. Defendants’ course of conduct set out above is ongoing and adverse to the public
interest and policies underlying consumer protection laws. Unless enjoined and restrained by an
order of this Court, Defendants will continue to engage in the unlawful acts and practices set out
herein. Such acts and conduct by Defendants have caused ascertainable loss and actual damage
to consumers, including Plaintiff and Class Members, and unless enjoined by the Court,
Defendants will continue to cause monetary loss to Plaintiff, Class Members, and future Avis
Budget rental car customers.

CLASS ACTION ALLEGATIONS

45. Plaintiff brings this action as a class action pursuant to Federal Rule of Civil
Procedure 23(b)(2)and (b)(3), on behalf of himself and the following Class:

All natural persons and business entities who rented vehicles enabled with e-Toll

from any rental location owned or operated by Avis Budget or its licensees or

from online websites and who were charged non-discounted toll charges and

convenience fees in connection therewith. Excluded from the Class are

Defendants, as well as Defendants’ affiliates, employees, officers and directors,

including franchised dealers, and members of their immediate families (the
“Class” or “Class Members”).

295860 v1 14
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 15 of 35 PagelD: 15

46. Plaintiff reserves the right to amend the definition of the Class, if discovery
and/or further investigation reveals that the Class should be expanded or otherwise modified.

47. | The members of the Class are so numerous and geographically dispersed that
joinder of all members would be impracticable. The members of the Class are readily
identifiable from information and records in Defendants’ possession, custody or control.

48. Plaintiff reasonably estimates that there are hundreds of thousands of Class
members who rented vehicles equipped with e-Toll. The size of the Class can only be
ascertained through appropriate discovery.

49. Common questions of law and fact predominate over any questions affecting only
individual members of the Class. These common legal and factual questions, which do not vary
from one Class member to another, and which may be determined without reference to the
individual circumstances of any Class member, include, but are not limited to, the following:

a. Whether Defendants failed to disclose to Plaintiff and Class Members in
Avis Budget’s Rental Agreement that renting an Avis Budget rental vehicle enabled with the e-
Toll automated toll-payment service would trigger fees of $2.50 per rental day and up to $10 per
week;

b. Whether Defendants omitted and/or concealed material facts from Plaintiff
and the Class regarding whether the vehicle they rented was pre-enrolled and activated for e-
Toll;

c. Whether Defendants failed to disclose to Plaintiff and Class Members in
the uniform Rental Agreement that they would be obligated to pay e-Toll fees regardless of

whether they used e-Toll;

295860 v1 15
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 16 of 35 PagelD: 16

d. Whether Defendants failed to disclose to Plaintiff and Class Members in
Rental Agreements that they would be obligated to pay more than the actual toll charge incurred

and would instead pay the non-discounted rate;

€. Whether Defendants have a contractual right to impose and collect e-Toll
fees;

f. Whether Defendants’ acts and practices constitute breach of contract;

g. Whether Defendants’ nondisclosure of e-Toll fees violated the NJCFA;

h. Whether the facts Defendants fail to disclose about their e-Toll fees are
material;

i. Whether Plaintiff and the Class Members are entitled to damages, and if

so, what is the proper measure of damages;
j. Whether Plaintiff and the Class are entitled to equitable relief, including
injunctive relief, to prohibit the reoccurrence of this conduct; and
k. Whether, by the misconduct set forth in this Complaint, Defendants have
engaged in unfair or unlawful business practices with respect the e-Toll fees imposed.
50. __ Plaintiff’s claims are typical of the claims of the Class, because Plaintiff and all
Class members were injured by the same wrongful practices in which Defendants engaged.
Plaintiff's claims arise from the same practice and course of conduct that gives rise to the claims
of the Class, and are based on the same or similar legal theories. The only difference could be the
amount of damages sustained, which can be determined readily from Defendants’ records.
51. Plaintiff will fully and adequately protect the interests of the members of the
Class and has retained class counsel who are experienced and qualified in prosecuting class

actions, including consumer class actions and other forms of complex litigation. Neither
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 17 of 35 PagelD: 17

Plaintiff nor his counsel has interests which are contrary to or conflicting with those of the
Class. Defendants have no defenses unique to Plaintiff.

52. Plaintiff brings this action under Rule 23(b)(3) because the common questions
of law and fact as to Defendants’ liability predominate over individual questions. The
predominant legal issue in this action is whether Defendants are violating and have violated the
law by charging customers charges and fees without notice in connection with the e-Toll
service. By litigating this issue, Plaintiff necessarily will establish Defendants’ liability to all
Class Members.

53.  Acclass action is superior to all other available methods for the fair and efficient
adjudication of this controversy for, inter alia, the following reasons:

a. It is economically impractical for members of the Class to
prosecute individual actions;

b. The Class is readily definable;

c. Prosecution as a class action will eliminate the possibility of repetitious
litigation; and

d. A class action will save time and expense and will ensure uniformity of
decisions.

54. Plaintiff does not anticipate any difficulty in the management of this litigation.

55. Defendants have, or have access to, address information for the Class which
may be used for the purpose of providing notice of the pendency of this action.

56. Rule 23(b)(2): Class certification is warranted under Rule 23(b)(2) because
Plaintiff seeks injunctive relief on behalf of the Class Members on grounds generally

applicable to the entire Class in order to enjoin and prevent Defendants’ ongoing imposition

295860 vi 17
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 18 of 35 PagelD: 18

and collection of the e-Toll fee, and to order Defendants to provide notice to consumers that
the fee they paid was unlawful and of their potential right to reimbursement of the fee from
Defendants.

COUNT I
(Breach of Contract)

57. Plaintiff repeats and realleges the allegations of the preceding paragraphs as if
fully set forth herein.

58. This cause of action is pled in the alternative to Count IV (Unjust Enrichment).

59. All conditions precedent, if any, to the Rental Agreement have been waived or
satisfied.

60. At all times relevant, there existed a valid and enforceable rental contract
between Plaintiff and Avis Budget.

61. Avis Budget entered into valid and enforceable rental contracts with all other
Class members that were substantially identical to Plaintiff's. These contracts were
standardized form contracts drafted by Avis Budget.

62. Avis Budget, acting individually and in concert with HTA, systematically
transmitted personal and financial information of Plaintiff and Class Members to HTA for the
purpose of imposing undisclosed and improper e-Toll fees and charges. As a result,
Defendants routinely imposed and collected e-Toll fees from Plaintiff and Class Members.

63. Plaintiff and Class Members did not contract for the e-Toll service or to pay e-
Toll fees, and Plaintiff and Class members were not informed of the terms of the e-Toll
service, including its cost, until after charges were incurred.

64. Asa matter of course, the Avis Budget Rental Agreement presented to Plaintiff

and Class Members did not and does not:

295860 v1 18
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 19 of 35 PagelD: 19

a. Identify e-Toll;

b. Identify HTA;

c. State, explain or provide that e-toll is automatically activated on Plaintiff's and
Class members’ rented vehicles;

d. State, explain or provide that by contracting to rent cars from Avis Budget,
Plaintiff and Class Members automatically become enrolled as paying subscribers to e-Toll and
must pay e-Toll fees;

€. State, explain or provide that, in addition to the standard non-discounted toll
charge, customers who rent e-Toll enabled cars are automatically required to pay a
“convenience” fee of “$2.50 per rental day regardless of whether you use e-Toll or not and up
to $10.00 per week for the use of this service.”; and

f. State, explain or provide that Plaintiff and Class Members would be obligated to
pay more than the actual toll charge incurred and would instead pay the non-discounted rate.

65. In light of the foregoing, Avis Budget’s Rental Agreements with Plaintiff and
Class Members did not and do not authorize or allow for Avis Budget’s transmission of its
customers’ personal and financial information to HTA or imposition and collection of e-Toll
charges and fees from Plaintiff and Class Members. Accordingly, Defendants, acting
individually and/or in concert, breached the Rental Agreements with Plaintiff and Class
Members.

COUNT IH
(Violations Of New Jersey Consumer Fraud Act (N.J.S.A. § 56:8-1 et seq.))

66. Plaintiff repeats and realleges the allegations of paragraphs 1 to 65 above as if

fully set forth herein.

295860 v1 19
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 20 of 35 PagelD: 20

67. Plaintiff and Defendants are “persons” within the meaning of the New Jersey
Consumer Fraud Act (the “NJCFA”).

68. Plaintiff and other members of the Class are “consumers” within the meaning of
the NJCFA.

69. The NJCFA provides that Defendants have a duty not to engage in “any
unconscionable commercial practices, deception, fraud, false pretense, false promise,
misrepresentation, or the knowing concealment, suppression, or omission of any material fact
with intent that other rely upon such concealment, suppression or omission, in connection with
the sale or advertisement of any merchandise...” The rented vehicles are “merchandise” within
the meaning of the NJCFA.

70. The business activities of Defendants discussed above constitute the sale or
advertisement of merchandise within the meaning of the NJCFA.

71. As set forth above, Defendants have engaged in unconscionable commercial
practices or deceptive acts or practices where their conduct regarding e-Toll services, fees and
charges was dishonest and devoid of fair dealing and good faith because Defendants’ conduct
had the capacity to mislead consumers acting reasonably. As such, Defendants’ conduct
violated the NJCFA.

72. Avis Budget consciously omitted material facts from the Rental Agreement with
respect to e-Toll and any charges and fees associated with e-Toll and the sharing of credit/debit
card information.

73. Avis Budget’s unconscionable conduct described herein included the omission
and concealment of material facts concerning e-Toll and any charges and fees associated with e-

Toll.
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 21 of 35 PagelD: 21

74. As set forth above, Defendants have also knowingly omitted material facts
regarding e-Toll. Defendants uniformly do not and did not disclose to Avis Budget rental
customers, including Plaintiff and Class Members, prominently or clearly in their Rental
Agreements that: e-Toll is automatically activated for their rented vehicles; by contracting to
rent cars from Avis Budget, Plaintiff and Class Members automatically become enrolled as
paying subscribers to e-Toll and, as such, automatically incur e-Toll “convenience” fees; in
addition to the standard non-discounted toll charge, customers who rent e-Toll enabled cars are
automatically required to pay a “convenience” fee of “$2.50 per rental day regardless of whether
you use e-Toll or not and up to $10.00 per week for the use of this service.”, and that Plaintiff
and Class Members would be obligated to pay more than the actual toll charge incurred and
would instead pay the non-discounted rate. Defendants made these omissions with the intent that
consumers rely on their omissions. As such, their conduct violated the NJCFA.

75. Moreover, the Avis Budget Rental Agreement as presented to Plaintiff, contained
affirmative representations that it disclosed all charges that the renter would incur. These
documents contained no mention of the e-Toll fee, and thus misrepresented the amounts the
renter would be charged, in violation of the NJCFA.

76. NJSA 56:82.11 provides that “Any person violating the provisions of the
[NJCRA] act shall be liable for a refund of all moneys acquired by means of any practice
declared herein to be unlawful.”

77. As aresult of Defendants’ conduct in violation of the NJCFA, Plaintiff and the
Class have suffered ascertainable losses, and unless restrained, class members and others in the

future will continue to suffer injury and harm.
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 22 of 35 PagelD: 22

78. The foregoing acts, omissions and practices proximately caused Plaintiff and
other members of the Class to suffer an ascertainable loss and they are entitled to recover such
damages, together with appropriate penalties, including treble damages, attorneys’ fees and costs
of suit.

COUNT Il
(Injunctive Relief Against Defendant Avis Budget)

79. Plaintiff repeats and realleges the allegations of paragraphs 1-78 above as if
fully set forth herein.

80. The Avis Budget Rental Agreement and the NJCFA create contractual or
statutory duties that Defendant Avis Budget owes to Plaintiff and the Class, and they create
legal rights for Plaintiff and Class Members.

81, Specifically, the terms and conditions of the Rental Agreement presented to
Plaintiff and the Class govern and give rise to the rights, duties and obligations of Defendants
on one hand, and Plaintiff and Class Members on the other hand, vis-a-vis Plaintiff and Class
Members’ rental of Avis Budget rental vehicles. As set forth above, Defendants have violated
their contractual duties, injured Plaintiff and the Class thereby, and violated one or more
cognizable legal right Plaintiff and the Class possess.

82. The NJCFA imposes on Avis Budget a duty not to engage in omissions of
material facts, unconscionable commercial practices or deceptive acts or practices. As set forth
above Defendant Avis Budget has violated that duty, injured Plaintiffs and Class Members
thereby, and violated one or more cognizable legal rights Plaintiff and Class Members possess.

83. | Upon information and belief, Defendant Avis Budget continues to impose the

unlawful charges and fees in the manner described above. Defendant Avis Budget continues to

295860 v1 22
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 23 of 35 PagelD: 23

retain monies due and owing Plaintiff and Class Members because of their payment of those
charges and fees to Defendants.

84. Defendant Avis Budget’s acts and conduct have caused Plaintiff and the Class to
be aggrieved, and unless-enjoined by the Court, Defendant will continue to aggrieve Plaintiff,
Class Members, and future Avis Budget customers.

85. Plaintiff and Class Members have no fully adequate remedy at law by virtue of
Defendants’ ongoing course of conduct.

86. Any potential injury to Defendants attributable to an injunction is outweighed
by the injury that Plaintiff and the Class will suffer if such an injunction is not issued.

COUNT IV
(Unjust Enrichment)

87. Plaintiff repeats and realleges the allegations of the paragraphs 1 to 86 above as
if fully set forth herein.

88. As aresult of the unlawful and unconscionable practices of the Defendants as
described herein, Defendants have obtained and retained significant monies to which they have
no lawful claim, and accordingly have been unjustly enriched.

89. Through resort to the various practices described herein, Defendants received
and continue to receive a non-gratuitous benefit, retention of which without disgorgement of
its ill gotten profits is unjust.

90. ‘Plaintiff and the Class reasonably expect and expected that the Defendants
would only charge fees for a service when commercially reasonable and fair for Defendants to
do so, and as Defendants have acted beyond the bounds of commercial reasonableness and
fairness and without a legally enforceable contractual right to do so. Defendants have been

unjustly enriched beyond the bounds of their contractual rights.

295860 v1 23
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 24 of 35 PagelD: 24

91. ‘Plaintiff seeks disgorgement of all unjustly retained profits which have been
obtained through Defendants’ unfair, unlawful, misleading and deceptive means described with
particularity in the foregoing paragraphs of this Complaint.

92. Defendants’ collection and retention of the fees violates the fundamental
principles of justice, equity and good conscience and unjustly enriches Defendants.

COUNT V
(Breach of Implied Covenant of Good Faith and Fair Dealing)

93. Plaintiff repeats and realleges the allegations of paragraphs 1 to 92 above as if
fully set forth herein.

94. The Rental Agreement was subject to the implied covenant that Avis Budget
would conduct its business with Plaintiff in good faith and would deal fairly with him.

95. Avis Budget breached this implied covenant by failing to disclose material facts
concerning e-Toll and any charges and fees associated with e-Toll.

96. Plaintiff has been damaged as a direct and proximate result of Avis Budget’s
breach of the implied covenant of good faith and fair dealing.

COUNT VI
Request for Declaratory Relief Pursuant to the
Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.

97. Plaintiff repeats and realleges the allegations of paragraphs 1 to 96 above as if
fully set forth herein.

98. | Upon information and belief, Defendant Avis Budget continues to impose the
unlawful charges and fees in the manner described above.

99. As such, an actual controversy exists between Plaintiff and Avis Budget

concerning the parties’ rights and duties with respect to the terms of the Rental Agreement —

295860 v1 24
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 25 of 35 PagelD: 25

specifically, whether Avis Budget may charge Plaintiff e-Toll convenience fees and tolls charges
above those actually incurred by Plaintiff during the rental period.

100. The parties require this Court’s declaration as to their respective rights, duties,
and any other relevant legal relations, and whether or not Plaintiff could seek or is otherwise

entitled to further relief.

NOTICE TO ATTORNEY GENERAL OF ACTION
Pursuant to N.J.S.A. § 56:8-20, Plaintiff will mail a copy of this Class-Action Complaint
to the New Jersey Attorney General within 10 days after filing it with the Court.
PRAYER FOR RELIEF
WHEREFORE, Plaintiff on behalf of himself and on behalf of the Class prays:
A. For an order certifying this action as a class action, appointing Plaintiff as

representative of the Class and appointing his attorneys as counsel for the Class,

B. For all compensatory damages on all applicable claims in an amount to be proven
at trial;

C. For treble damages under the New Jersey Consumer Fraud Act;

D. For an order permanently enjoining Defendants from engaging in the unlawful

practices alleged herein;
E. For an award of attorneys’ fees, costs and expenses; and
F. For such other and further relief that the Court deems appropriate and just under

the circumstances.
JURY TRIAL DEMAND

Plaintiff demands a trial by jury.

295860 v1 25
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 26 of 35 PagelD: 26

Dated: November 7, 2011

295860 v1

By:

LITE DEPALMA GREENBERG, LLC

/s/ Joseph J. DePalma
Joseph J. DePalma

Susana Cruz Hodge

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(973) 623-3000
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Fax: 212-684-5191
nkaboolian@abbeyspanier.com

Attorneys for Plaintiff and the Class

26
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 27 of 35 PagelD: 27

LOCAL CIVIL RULE 11.2 CERTIFICATION

Pursuant to Local Civil Rule 11.2, I hereby certify that the matter in controversy is not

related to any other action, pending arbitration or administrative proceeding currently pending in

any court.

Dated: November 7, 2011

295860 v1

LITE DEPALMA GREENBERG, LLC

/s/ Joseph J. DePalma
Joseph J. DePalma

Susana Cruz Hodge

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Attorneys for Plaintiff and the class

27
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 28 of 35 PagelD: 28

EXHIBIT A
 

Case 2:11-cv-06537-CCC-JSA Document 1 Filed 11/07/11 Page 29 of 35 PaqgelD:

| Get 10% off

your next truck rental!

 

Small businesses. Big savings. |
Join the Budget Business Program* and get :

savings, rewards and more!
* Low rates that are up to 25% off

* Cash back rebates
* Free enrollment with no commitment or contract

* Complimentary Fastbreak® membership—skip the

lines and go straight to your car

Enroll today for FREE at
budget.com/smallbiz

for call 1-866-671-7202.

| Get a free day

7 on your next weekend rental!

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Promotion or offer. Coupon valid at participating Puciget locations in the cordiquous US. (exctuding the New York,
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driver and credit requirements. Minimum age may vary by location. An additional daily surcharge may apply for

renters under 25 years old. Renta! mast begin by 32/31/11.

B COUPON e TUFZO13
For Budget CSA Usa Only in CPN.enter TUFZOTS,

Complete this information:
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ig «6 coMined with any other discounts, offers, coupons, special promotions, of commercial rates. Tals discount does not
apply te commercial accounts or contracted rates. Rates may vary by location and time of year Taxes, fees and sure
charges are extra, Renter must meet Budget age, driver and cedk requirements, An additional dally nurcharge may
im apply for renters under 24 years of age Options! products such as damage waivers, PAC, refueling and other product
mm «(services may apply anc are extra. Offer i: void where prohibited by lew and has no cash vahe. Gest malable rates |

defined as the lowest publicly avalisble online to Budget Truck customers, See your total on your reservetion forthe i

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Truck Rental i

_Car#

Space No.:

| License No.: ,
. Renters/ Authorized Drivers Insurance fs Primary: Pursuant to Florida

 

     

 

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Color/Model:

 

driver is primary for the limits of liability and Personal injury Proteetion

| Coverage required by Sec. 324.021(7) and 627.736 Florida Statutes.

BUDGET RAPID RETURN
if paying for your rental with any Budget honored charge card,
indicate your mileage, gas level and time, and drop your rental

: agreement into the Budget Rapid Retum™ Box. Our Wizard®com-
: puter system wil complete your bil and a copy will be sent to you.

if you prefer, you may have your bill completed at the counter.
Return Mileage: Return Date:

 

a a |

| Did you purchase fuel?
| Gas Gauge (check box)*

OhYes ONo

Return Time:

*Please Note: If you don't indicate your gas gauge
reading, you may be charged for a full tank of gas.

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| Name:

 

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Rental Terms and Conditions

These terms and conditions, the rental document, signed by

you, and a retum record with computed rental charges

together constitute the rental ‘agreement. (“agreement”)

between you. atid Budget’ Rent’a Car System: Inc. or the

independent: Budget‘System, Licensee: identified of the
rental: document ("Budget’). Further. references to: the

“refital. document”. alternatively. mean: the. front of these

terms; if.there is no, separate rental document.

| 2.You rent from us the car described on the rental

document, which rental is solely a bailment for mutual
benefit. You agree'to the terms below and on the other
pariels of this Rental Document. Jacket provided: any such..
tem: B not prohibited by the a of unistiton covering :
this. rental,” In:-which” case such: law-contfols. “You” an
“your” refer to the person whic: signs this agreement,
“we”, “our” and “us” refer to Budget. You also agree that you
are not our agent for any purpose; and that you

cannot assign or transfer your obligations.

3. Return of the Car You must return the car in the same

condition you received it, ordinary wear and tear
excepted, on the date and at the time indicated on the rental
document. You must return it sooner on our demand. if you
return it earfier or later, a different or higher rate may apply
and, if returned later, you may be charged a late retum fee.
You may not return the car at a time when we are closed. If
you do, your responsibility for damage to or loss of the car
will continue and all charges stated on the rental document
as a periodic rate will continue to accrue until the return
location reopens and we retake actual possession of the car.
if we do noi find the car when that location reopens, your
Tesponsibility for all charges and for damage to or loss of
the car will continue until.the car is actually returned or
recovered. Hryeu wish to extend any rental you must contact
us at 1-800-527-7000 to request it before your return date.

We may or may not grant an extension or grant it for the

entire period you request, in our sole discretion. If we do
grant an extension a different or higher rate may be applied

to the extension period and a service fee may also apply.

Failure to return rentat property or equipment upon

; expiration of the rental period and failure to pay all

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paw in accordance. with Section 812.155, Florida

i 4. Where You'll Retura the Car, The car must be retumed t
e agreed return location as specified on the rental

24HOUR ROADSIDE 1-800-354-2847

ASSISTANCE

RESERVATIONS

Visit us online @ budget.com

Thank you for not smoking.

Budget maintains a 100% smoke-free feat. F-133FL (2/11)

Printed 4/11

1-800-527-7000

document. If return is indicated to a location other than the
location where your rental commences, you may have to
pay “one way service fee”. If you retun the car to a
different location from the agreed return location without
our permission, you agree to pay the “unauthorized return
location fee” specified by us. lf this fee is higher by
multiplying normal mileage rate by distance between
renting location and actual return location as specified on
the return document/retum record, you'll pay the higher fee.
You also understand that a different or higher rate may

apply.
 

Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 30 of 35 PagelD: 30

 

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6. Taxes. You'll pay all sales, use, rental, environmental and excise taxes
including tax- tax felted Surcharges.
ss Damage Waiver Loss Damage Waiver (LOW i mt insurance and
mandalry. if you accept ful LDW by your initials on the rental document at th
daily rate, for each full or partial day that the car is rented to you, and the car i
operated in accordance with this agreement, we assume all loss or damage to th
car except, if permitted by faw, for lost, damaged or stolen keys or remote entr

 

permitted by law. If you accept POW at the indicated daily rate, and the car i
operated in accordance with this agreement, we assume all loss or damage t
the car up to the amount as specified on the rental document and you accep
responsibility for all other loss or damage. If you do not accept either LOW o
PDW, you owe for all loss or damage to the car. Loss and damage ar

 
Case 2:11-cv-06537-CCC-JSA Document 1 Filed 11/07/11 Page 31 of 35 PagelD: 31

10.

 

‘Covered by any insurance, you will provide us with the name of the insurer

and policy number, or if the insurance is provided by your card issuer, its
insurer. You authorize us to process any or all of our Incidental Loss to your
card at or after the completion of your rental. You also authorize us to
collect any or all of our loss from any third party that is responsible for it. If
we collect our loss from a third party after we have collected our loss from
you, we will refund the difference, if any, between what you paid and what we
collected from the third party. Ifthe law of a jurisdiction covering this rental
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ew, that law prvals ou understand that you are not authorized to repair
or have the car repaired without our express prior written consent. If you
repair or have the car repaired without our consent, you will pay the
estimated cost to restore the car to the condition it was in prior to your
rental. if we authorize you to have the car repaired, we will reimburse you
for those repairs only if you give us the repair receipt

oss Damane Waiver Fee, If you accept LDW, you'll pay the daily LDW rate
as re on eae ae POW cee and you
accept it instead , you'll pay aa epoeesien
the rental document. In other case, you agren tu pay fe ap cable daily
rate for a full day if you don't have the car for the entire day. The fee is the
applicable daily rate multiplied by the number of rental days.

Most rentals come with a full tank of fuel, but that

 

 

{s not always the case.

(2) Where available, if permitted by law, if you drive less than 75 miles,
you acknowledge that we will add a fat fee to the rental, the amount of
which will be disclosed on the rental document and at the counter prior

to rental. You may avold this charge at time of return by .

roviding a receipt for fuel purchased at which time the flat fee will be
hee from avr rental charges.

If (a) does not apply, there are three refueling options:

) ff you do not accept the fuel service option, where available, at the
beginning of your rental, and you return the car with less fuel than was in
I Hoel we Wk a you a Sel eevee a the
applicable rate per-mile or per-gallon rate specified on the rental
document The per-mile rate is used if you do not buy fuel during the
rental. To calculate this amount, we the number of miles driven,
as shown on the car's odometer, times the per-mile rate shown on the
rental document. The per-galion rate is if you buy fuel during the
rental and provide us with a receipt on our request, but the tank is not as
full when you retum the car as when you received the car (by using the
factory-installed gauge, rounded down to the nearest 1/8 tank), times the
per-gallon rate shown on the rental document. Although two methods are

for ease of calculation, the per-mile and per-gallon rates produce
approximately the same result.

(ch Ifyou the fuel service option at the beginning of yourrental, you
ill be charged as shown on the rental document for that purchase and you
will not pay us a fuel service charge. If you choose this option, you will not
incur an additional fuel service charge, but you will not receive any credit
for fuel left in the tank at the time of return. -gallon cost of the fuel
service option will always be lower than the fuel service charge. The cost
of refueling the car yourself at a local service station may be lower than the
fuel service charge or the fuel service option. You acknowledge that the fue!
Service charge is not a retail sale of fuel.

(d) You may avoid a fuel service charge if you return the car with the fuel
tank as full as when you received it and, if requested by us, present a

11. Personal

13. Fines

15. Prohibit

receipt for your fuel purchase.

  

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Accident/Effects Insurance if yo it You understand that you'll be
Se cyan ae BA Gay even yu dot ave tp Ga
Te day.

i

12. Roadside SafetyNet. Roadie Sse (09 bw ance sad at

mandatory. Where available, you'll pay for RSN, if you accept it at the rate

shown on the rental document for each full or partial rental day. RSN

. provides roadside assistance at no charge in addition to the daily fee for. lost
and remote entry devices, lockouts, flat tire service, towing (if the car

becomes inoperable), jump starts, em fuel delivery (up fo 3

ioe is needed). use of the car will void
option.

  
 

Emenses, Costs and Administrative Fees, You'll pay all fines,
penalties and court costs for parking, traffic, toll and other violations,
including storage liens and charges. You'll also pay a reasonable
administrative fee with respect to any violation of this agreement, such as
for repossessing or recovering the car for any reason.

14. Error in Rental Charges, The charges shown on the return record are not
final and are subject to our review. You'll pay any undercharges and you'll

receive a refund for any overcharges we discover on review.

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driver may do, or fail to do, will violate
this agreement and, in addition to anything else may cause us to cancel
Our enrofiment in Budaet Fastbreak Service. A VIOLATION OF THIS
ARAGRAPH, WHICH INCLUDES USE OF THE CAR BY AN
UNAUTHORIZED DRIVER, WILL AUTOMATICALLY TERNENATE YOUR
RENTAL, 1S AN EXCLUSION TO AND VOIDS ALL LIABILITY
PROTECTION AND ANY OPTIONAL SERVICES THAT YOU HAVE
ACCEPTED, INCLUDING ADDITIONAL LIABILITY INSURANCE,
PERSONAL ACCIDENT INSURANCE, PERSONAL EFFECTS PROTECTION,
ROADSIDE SAFETYNET AND LOSS DAMAGE WAIVER OR PARTIAL
DAMAGE WAIVER. IT ALSO MAKES YOU LIABLE TG US FOR ALL THE
PENALTIES, FINES, FORFEITURES, LIENS AND RECOVERY AND STORAGE
COSTS, INCLUDING ALL RELATED LEGAL EXPENSES, FEES AND COSTS.

 

ited Use of = Void
of the car and other things you or

It is a violation of this paragraph if:
authored drives defined fa paragraph 16:2) to ary passeayers a
authorized driver, as defined in para 16; 2) to carry passengers or

roperty for hire; 3) to tow or ng; 4) to be ina test,
Se ar ctaeel ie on tapowed rds 5} abe be ee keen
rch Se os nw seen iy
ro as a or misdemeanor, inelu
fransportation of 2 controlled sobstomce or contraband: Se
while overloaded; 8) if rented in the United States, outside of the
States, or with our permission, Canaia; or 9) if rented in Canada,
outside of Canada, or with our permission, the States, or

B. You or an additionat driver, authorized or not: 1) fall to promptty

report any damage to or loss of the car when it oceurs or when you leam
of it and provide us with a wriften aceldent/ineident report or fail to
cooperate fully with our investigation; 2) obtained the car through fraud
or ion; 3) {eave the car and fail to remove the keys or
close and lock all doors, close af! windows and the trunk and the ear Is
Stolen or vandalized; 4) intentionally or with willful disregard cause or
allow damage to the car, or 5) retum the car after hours and the car is
damaged, stolen or vandalized.

.. Will not provide (a) coverage for fines,
* exemplary damages; (b) coverage for bodlly injury to you, or your

. Who May Drive the Car, You represent that you are a capable and

validly licensed driver. You agree that we have the right to
verify that your license has been validly issued and is in good
standing; and that we may refuse to rent to you if your license has
been suspended, revoked or otherwise restricted in any way. We
reserve the right to deny rentals based upon information provided
by the Motor Vehicle ent of the jurisdiction that issued
your license. where otherwise specifically authorized by
applicable faw, only you, your spouse or domestic partner, or, if
you rent from us under your employer's corporate account
agreement, your employer or a regular fellow employee Incidental
to business duties may drive the car, but only with your prior
permission. The other driver must be af least 25 years old and
must be a je and validly licensed driver. There may be a
charge for each additional driver authorized to drive the car, which
charge is specified on the rental document, unless prohibited by
law covering this rental.

. Liability Protection. Anyone driving the car who is permitted to

drive it by this agreement will be protected against liability for
causing bodily injury or death to others or damaging the
property of someone other than the authorized driver and/or the
renter up to the minimum financial responsibility limits required
by the law of the jurisdiction in which the accident occurs. The
limit for bodily injury sustained by any one person includes any
claim for loss of that person’s consortium or services. Where the
athe pg cry Ue Altar driver, the same
limits wiil apply pt where required by law to ome,
any p on provided by us shall be secondary to, and not
excess of, any applicable insurance available fo you, or any
seramiary of cogent i any way i tes prcecton &
or in . If this o is
extended by operation of kaw to anyone not permite by this
agreement to drive the car, or to any person or instance where
coverage is not intended to be afforded by this agreement, the
financial responsibility limits of the jurisdiction in which the
accident occurs will apply. You agree that we can provide
coverage under 2 cetiicae of sel insurance or an insurance
policy, or both, as we choose. In any case, a copy of the policy
and/or certificate will be avaitable for your inspection at our main
office. You understand that unless required by applicable Bu, we
, punitive or

death while not a driver, or any member of your family or the
driver's family, or to a fellow employee arising out of or in the
course of employment; (c)) defense against any claim, unless we
are required fo provide primary protection, but in such event not
after the applicable limits of protection that we fumish are
tendered; (0) Sere no fault, noncompulsory uninsured
or underinsured motorist coverage, and ary other optional or
rejectable coverage, and ol aa 8 reject all such coverages to
the extent permitied by ee ericriiss Caneaes
required or implied by law, the limits shall be the minimum required
under applicable statute. Where permitted by law, you are relecting
uninsured or underinsured motorist and all optional automobile
insurance coverages and under aay policy of insurance or
certificate of self-insurance in connection with this agreement, for
you and all other passengers in the car. You understand that
uninsured and underinsured motorist protects you and
other passengers in a car for losses and suffered if
 

 

 

  

 

repossess anytime we discover that a misrepresentation was if you have accepted LDW. If the unit and/or its accessories are lost or

made to obtain the car. You agree that we needn't notify you in 25. Changes. Any change in this agreement or our rights must be in damaged so as to, in our sole opinion, require repair or replacement, you

injury is caused by the negligence of a driver who does not have penalties, toll charges, towing, storage and impoundment fees, you agree processing charge no higher than 3% applied to all amounts relating to
Sey peunach urbe oduct koieears for losses and to pay a late charge of 1 1/2% per oni on past due balance or the this transaction. This charge will replace the currency conversion
damages. There is no coverage in Mexico, and the car may not highest rate pertnted by applicable law, whichever is less (collectively, processing charge applied by your card issuer. You understand that
be taken into Mexico under any circumstances, unless special “Charges . Foe toll charges you. will be" charged “the “standard nion> card issuer has a currency conversion process; that you have
~ arrangements are made at the renting location for separate discounted fee for tolls roads as published by’thé toll authority. plus the”. chosen not to use your card issuer's currency conversion process; and
rf Mexican insurance, where such insurance is available. convenience fee of $2.50 per rental oay regardless of whether YOU. USB.e- that you will have no recourse against your card issuer with respect to
QO 18. Supplemental Liability insuranes Si & Exeivsions. You'll Toil-or not and.up to $10:-per week for the.use of this, service. You Charges any matter related to the currency conversion Or dscosure thereat
©} “pay for SLi avalale and, you dept n tha case, tho «80 Bay Fo ny cass that we incur in seeang fo colt such Charges >) aay Sianace pratetion (“ESPYD, whore aval, is avaiable
a ided by us crorin to paragraph 17 above wilt including, without limitation, court costs and attorney's fees in addition to - Emergency slemess_rraveetion (_ESt with valid non US
oO Fe at te earl rt ct aban eects wh be any admistrave fees, cost recovery, nsufcent funds fees and colton only to Canadian res and inematonl renters with vad oon US.
_ $1,000,000 2.000.000 depending on the place of rental for fees (collectively, “Costs”). if the law permis, you authorize us and our passports. You'll pay for ESP, if you accept it. You'll be charged the —
wo Py ii aa ,000 depending o for bi accideud: bet collection agent, to contact you or your employer, at your place of business day for a full day even if you don't have the car for the entire day.
4s a iy inury, ian in property $1000,000 or $2,000,000 about the payment of any past due or Costs. You aiso agree that ESP is offered by an independent insurer and is explained in a brochure
limit for each accident a of the basic limits stated in we or our collection s) May access nal information that you available at the counter.
o aragraph 17 above. This adfonl coverage wl be provided to provided to us in rt to collect es or Costs under this 98 OnStar and Safelite Radio. You acknowledge that the car may be
@ an althorzed drives defined in paragraph 16 above, under a «secon and may use the address provided by you onthe Rental Document, 28. equipped with the OnStar System, which provides emergency and other
> separate policy of excess labifity ta re fully described or in any customer profile, as the place to send any demands or collection services. You expressly authorize ail of those services. You acknowledge
© in the avaiable brocture and is subject to al ofthe conditions notices. in the event thal you presented a credit or debit card for that you understand that OnStar requires the car’ electrical system and
“and limfations deserbed In paragraph 17 above, exept that payment yea dese Wal we may roped such cacy an upmen, caller serve ad alts tctnologes to be aval a
=| gpl wl al res oto SL dos ml apy‘ at ra an deb car formant party clean gest fo Ont ton papa. otal OS avs
 —_ BRI for Rody infor or property damane arising ut cf any dito us Incading, but nol Bie to, te Charges and Costs eerenced __sefce providers, Series are Utd by, and nether OnStar nor Avs is
© prohibited use of the car” es described in ph 15 liable for, conditions or services outside their control, Any information (e.9.
4 this rental Other exons SL are ted in the ates ie Be a oi ce . : navigational route support) provided through OnStar is on an “as is” basis,
7 sui er Qu understand that you will be charged the ire Gy. 22. Card Reserve. You acknowledge that you have been informed that if you OnStar, its service providers and Avis wil not be liable to you or any user
o day Tor a Tul day even if you don't have the car for the entire day. we charge ase up on Seater a ae of OnStar in connection with the use of such information. You understand
= Jemnification and Walve: i charges due under this Agreement, as indicated on the re rovide necessary
a: parent and af eres fr ant hld Us hams Yom document, based of your resetatin abot ths rer may be set itoraton to erable i erent beat te car yu td retum
4 any loss, lablity and expense that we incur arising out ofthe use aside or reserved Ly the card issue of the card, which you present for the car when and where required under this agreement. You agree to
<= _ of the Cat, including reasonable altomey's fees: (a) which payment of your rental charges; of you use a debit card funds in the release and hold us, and the OnStar service providers, harmless for any
c th of either the limits of financial account to which that card is linked may be Set aside for the greater of the
exceeds the greater of either the minimurn limits 0 4, OnStar system faflures. You also agree to limit claims against OnStar for
7 responsibility pursuant to the motor vehicle insurance law of the amount of the estimated ve aye ue under as ome, based on damages for any losses under theory tothe ro rata portion of the rate
: applicable jurisdiction, or the limits of any Hablity protection that your representation abou this rena, as indicat on fe renal document ean acest 1 368 40nStr (1.688408 7827) 1
5 we furnish to you; or (b) which results from any unauthorized or the deposit amount indicated on signs at the location at which you rent Nin f OnStar terres and conditions and privacy policy. Not
° use or prohibited operation of the car. You waive any claim at the time of rental. You consent to the reservation or setting aside of that obtain vahile Of Un ih OSbr nd Sailite eee tall
a0 against us for incidental, special or consequential damages in estimated total amount at the time of commencement of the rental. You every vehicle is equipped Se oa ain tar a Tete oa
connection with the rental. You waive any claim against us for understand that we will authorize the release of any excess reserve or set Oe a eonn in the ie a ee
<C- incidental, special or consequential in connection with aside upon the completion of your rental, and that your card issuer's rules Service in violation of this provision, the renter agrees completely
” the rental. the rental takes place at a Destion operated by a apply to your credit fine or your account being for such excess and responsible for the annual subscription fee(s). Some vehicles in our fleet
Te icensea in rolati is transact be immediately released by your card issuer. may have the OnStar and or Satellite Radio equipment however such
O Budget System Li and a claim relating to this rm may not tyyo uipment may not be active. Unless you are advised that you have 2 car
O is made against Budget Rent A Car System, Inc., that alleges 23. Lost or Damaged Property, We are not responsible for loss of or war OnStar ant of Satellite Radio you will not have access to the systems
unfair, deceptive or unconscionable conduct that renting Bu damage to any property in or on the car, in any service vehicle, on our
O licensee agrees to indemnify and hold Budget Rent a . ‘ f and you should not fely Upon them or take steps to activate them.
' System, Inc. harmiess from and against such claim, incudin Pees rete 0 eae ys Topas CC at faa Yo nora sais aati (dt vata Waal
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CS _-20. Repossessing the Car, We can repossess the car anytime it is a Moraine afar. Tre word “car” In this agreement means the vekicis you rent such a unit you will pay the additional daily charge shown on the
2 : ° rented or its replacement, and includes tires, tools, equipment, you wit |
! found il used to violate the law or th ; rm rental document. This unit is not part of the car. You are ble for
is apasint or qpmre Whe bono We rare STE Td oe ene cooley jos or aige he ut and fs aoessres raga of ase eer
“ IS agreement, or appears » WE Can specified in this rental agreement. any loss or damage to the
a
ON advance. If the car is repossessed, you agree to pay the actual writing and signed by our president or a vice president. will pay us its repair or full retail cost, which may be as much as $499. If
a and reasonable costs incurred by us to repossess the car. You 26. Currency Conversion, if you use a credit or charge card thit is issued by YOu return the unit toa location other than the renting location without our
Y agree that such cost will be charged to the card you used to rent institution outside of the United States and vour charces authorization, you will pay us a fee for that unauthorized return. We do not
oO the car a financial institution outside of the Uni you are
O . billed to us in a currency other than U.S. Dollars, the full amount of your use Where2 units to track or locate cars, other than those that are reported
21. Collestions, Ifyou do not pay a aroun due to us under tis charges will iB amet to the a account's baling cumency by us lost or stolen or as may be required by law enforcement agencies.
feement upon demand, including all charges, an unl ‘ou submit a written request in advance to have the currency
one including, without limitation, payment for loss of or omen performed by your card issuer. Our conversion will be based

damage to the car, rental charges, parking and traffic fines and on a conversion rate published by Reuters and will incorporate a ©2011 Budget Rent A Car System, Inc. F-133R. (2/11)

 
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 33 of 35 PagelD: 33

EXHIBIT B
 

Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 34 of 35 PagelD: 34

CURKAKKAKAAAAACLO?

.RA DOCUMENT 270625564 -131FL 0710 RENTBD: 203UL21/0901 .

2 AERPORT BLVD, TERMINAL A & 8 ORLANDO, PL, 32827, 08

02722
PHONE: 600-622-2300 098621

AT: ORLANDO FL APO
RATE CODE: 29/8

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MI OUT: 7612 CeakehO*OPTIONAL SERVICEStereneere ~MIN @ DAY
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MENDEZ, Jose
BLP
RENTERS/AUTHORISED DRIVERS INSURANCE I8 PRIMARY: PLORIDA STATUTE
627.7263(2), STATES THE VALID ANDO COLLECTIBLE LIABILITY INSURANCE
AND PERSONAL INJURY PROTECTION INGURANCE OF ANY AUTHORIZBD RENTAL
ORIVER IS PRIMARY FOR THE LIMITS OF LIABILITY AND PERSONAL Y
PROTECTION COVERAGE REQUIRED BY SEC. 324.022(7) neath BH
PIORIDA STATUTES. RERTER/AUTH. DRIVERS Ins. co.xx_7 7th * Ti
meee e oe NOTICES = + 0-00 o- o--BUDGET-~ ~~ +--+ -+NOTICEB- ----~---- ~BUDGRT~----- 2 =e NOTICES - - + + 0 0-20 + -BUDGBT+ 00 000-5! wOTTCeS

---RENTERS ARE NOT REQUIRED TO PURCHASE LOSG DAMAGE WAIVER
({LDW). IT IS NOT MANDATORY. BEFORE PURCHASING LOW, RENTER
SHOULD CHECK IF OWN INSURANCE COVERS DAMAGE TO AND LOSS OF
THE CAR, THE LIMIT OF COVERAGE AND DEDUCTIBLB. IF THE
RENTER DECLINES LOW, RENTBR MAY BE LIABLE FOR UP TO THE
RETAIL FAIR MARKRT VALUE (LESS SALVAGE) OF THB CAR,
REGARDLESS OF FAULT. UNLESS ORDINARY NEGLIGENCE IS EXCLUDED
BY LAW. REPAIRS ARE AT BUDGET'S COST. READ LOW TERMS ON THE
RENTAL DOCUMENT JACKET TERMS AND CONDITIONS, INCLUDING
EXCLUBIONS FROM LDW.

~~~PUBL SERVICES ADD'L IP CAR IS RETURNED WITH LESS

PUBL THAN WHEN RENTED. 00-74 MILES $13.99 FUBL FER ADDED.
TO REMOVE SHOW RECEIPT. X_APPROVED.

w~-MINIMNUM CHARGE 7S 1 DAY (24 HRS) PLUS MILEAGE.

wveIP I RETURN THE CAR PRIOR TO THE DUE IN TIME

SET FORTH ABOVE, I MAY BE CHANGED A HIGHER RATE.

wo~NOQ ADDITIONAL OPBRATORS ARE AUTHORIZED OR PERNITTED
WITHOUT BUNGET'S PRIOR WRITTEN APPROVAL IW ACCORDANCE
WITH THE TERMS AND CONDITIONS OF THE RENTAL AGREENENT

OR APELICABLE _ #
vane MAY BILL ALL CHARGES, PARKING/TRAFFIC TICKETS

INCLUDED, TO THE CARD I USE VOR PAYMENT, WITHOUT

. ADDITIONAL .GIGNATURB BY ee. He
7 GRATORE, I ACKNOWLEDGE RECEIPT OF ALL NOTICES

WHICH APPEAR ON THIS RENTAL POCUMENT. I AGREE TO THE
TERMS AND CONDITIONS INCLUDING WHO MAY DRIVE THE CAR,
WHICH IS STATED O8 THE RENTAL DOCUMENT JACKET PROVIOEO,

x fr Birds

J4A6 /4345/21209/09:09/0

RES # 35720127-U9-28
PREPARED BY, $1315
RENTALH 27061255 64
Case 2:11-cv-06537-CCC-JSA Document1 Filed 11/07/11 Page 35 of 35 PagelD: 35

ADDENDUM TO RENTAL AGREEMENT
In connection with my < X » Rental Application <  » Additional Driver's Application to Budget
Rent a Car System ("Budget"), 1 certify that;

* T heave a ourrently valid drivers license, not suspended, revoked, expired,
cencelled, surrendered or improperly altered.

* f have not had 2 or more convictions for maving violations within the past
24 months (including seat belt violations).

* - f have not been convicted of DHI/DUI/DHAI within the past 36 months.

* T have not been convicted of leaving the scene of an accident (hit and xun) or
failure to report on accident within the past 36 months.

* I have never been convicted of obtaining a vehicle unlawfully, possesping a
stolen vebicle, or using a vehicle in a oxime or in connection with an unlawful aot.

* 1 have not been convicted of reckless driving within the past 36 months.

# I have not had 3 or more eacidents within 36 months.

I understand that Budget regerds the fects to which T am certifying ae material in its
@ecision to rent or permit ma to drive its vehicle, and ie relying upon the accuracy and
truthfulness of thie certification. I further understand and agree that if I provide false or
misleading information, my use of the vehicle is prohibited and unauthorized. This may
result in any and all coverage otherwise provided by the Rental Agreement being void

and my being fully reeponsible for all loss or damage, including liability to third parties.

I authorize Budget, in the event of an accident involving an Budget vehicle, to verify my driving
record with any appropriate authority, either now or in the future, and I authorize any
government motor vehicle department to release my records at the request of Budget or its
designes.

I understand that the only onee permitted to drive the vehicle other than the renter are
the renter's spouse, the xentex'a co-employee. (with the renter's pexmiesion, while on
company businesa), or a person who appears at the time of the renta) and signe an Additional
Driver Form. These othar drivara must also be at leaat 2S years old and validly licensed.

‘

" PERMITTING AN UNAUTHORIZED DRIVER TO OPERATE THE VEHICLE Y6 A VIOLATION OF THE RENTAL
AGREEMENT. THIG MAY RESULT IN ANY AND ALL COVERAGE OTHERWISE PROVIDED BY THE RENTAL
AGREEMENT BEING VOID AND MY BBING FULLY RESPONSIBLE FOR ALL LOSS OR DAMAGE,

INCLUDING LIABILITY TO THIRD PARTIES.

IT understand that this pai an addendum to the Rental Agreement listed below.

 

Renter: x

 

Additional Driver: X

Date: 28JUL11

 

(POR OFFICE USE ONLY)

Additional Driver'a License state & 7X

 

Rental Agreement Numbers 270615564

 
